 

 

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

UNITED STATES oF AMERICA ) /-- l q c ,
) Zw/ " z
v. ) Case No. 3:11-cr-00020-2 W '
) Senior Judge Haynes M l
AUSTIN MICHAEL EVANS ) MM
m¢/// Mw

MOTION OF DEFENDANT AUSTIN MICHAEL EVANS TO MODIFY CONDITION w
OF SUPERVISED RELEASE pi//W

COMES NOW the Defendant, Austin Michael Evans, by and through his under igned
counsel, and pursuant to 18 U.S.C,§ 3583(e)(2) & Fed.R.Crim.P. 32.l(b), hereby respectfully
requests that the Court enter an Order modifying Special Super'vised Release Conditl'on No. 2 by f f/? _%l'j
converting the ZO-month halfway house residency requirement to a period of home detention. ln
support hereof, Defendant states as follows:

l. On July 26, 2013, this Court sentenced Defendant Evans to a term of sixty (60)
months incarceration and a three (3) year term of supervised release on his drug conspiracy
conviction. (Jua'gment, Docket Entry 115). AS a special condition of the three-year term of
supervised release, the Court ordered that “Defendant will be placed in a halfway house for
twenty (20) months as a condition of his supervised release.” Id. at p. 4, Special Super'vised
Release Cona'ition No. 2. The Court was motivated to impose this “split-sentence” to ensure
that Mr. Evans, who was 18 years of age at the time of the offense and had been continuously
detained pending trial, would receive needed vocational training as well as drug and alcohol
treatment. Mr. Evans has been at the halfway house since April 24, 2015.

2. Mr. Evans had an exemplary record while in the custody of the BOP, taking

advantage of skills development in masonry and carpentry and completed a number of courses

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